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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

Nanik Bhagia, et al.

v.                                           Case Number: 4:22−cv−00452

PHH Mortgage Services, Inc.,




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN RESET
FOR THE PLACE, DATE AND TIME SET FORTH BELOW.




Before the Honorable
Lee H Rosenthal
PLACE:
Courtroom 11B
United States District Court
515 Rusk Ave
Houston, TX
DATE: 3/29/2023

TIME: 11:30 AM
TYPE OF PROCEEDING: Status Conference


Date: March 20, 2023
                                                        Nathan Ochsner, Clerk
